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                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

IN RE:            OIL SPILL by the OIL RIG:     MDL No. 2179
                  “DEEPWATER HORIZON” in the
                                          :
                  GULF OF MEXICO, on      :     Section: J
                  APRIL 20, 2010          :
                                          :     Judge Barbier
This Document Relates to                  :     Mag. Judge Shushan
All Cases                                 :
...................................................................

                                     NOTICE OF HEARING

            Notice of hearing is hereby provided by all counsel that Defendants, Petitioners,

Transocean Deepwater Drilling Inc., Anadarko Petroleum Corporation, Anadarko E&P

Company, L.P. and MOEX Offshore 2007 LLC will bring their Joint Motion for Protective

Order for hearing on the September 15, 2010, at 9:30 AM, before the Honorable Carl J. Barbier,

United States District Judge, at the United States District Courthouse, 500 Poydras Street, New

Orleans, Louisiana 70130.




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                                    Respectfully submitted,

                                    PREIS & ROY, PLC



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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the foregoing pleading has on this 19 th day of

August, 2010, been served on the following counsel of record in this proceeding by:

            (   ) Hand Delivery              (       ) Prepaid U.S. Mail

            (   ) Federal Express            (       ) E-Mail

            ( x ) ECF


                                         /S/ Carl J. Hebert
                                        CARL J. HEBERT




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